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     UNITED STATES DISTRICT COUR
     SOUTHERN DISTRICT OF NEW YOR
     ------------------------------------------------------------
     UNITED STATES OF AMERICA,
                                Government
                                                                                    20 CR. 468 (RMB
                      -against
                                                                                    ORDE
     ROBERT HADDEN
                                Defendant
     -------------------------------------------------------------

                      The conference scheduled for Monday, July 12, 2021 at 12:00 PM is con rmed

                      In light of the continuing COVID-19 pandemic, the proceeding is being held
     telephonically pursuant to the CARES Act and applicable implementing court procedures.

                      Participants, members of the public and the press may use the following dial-in
     information


                      USA Toll-Free Number: 1-877-336-1829
                      Access Code: 6265989
                      Security Code: 0468

                      Note: The Government is requested to provide all victims (and their counsel if known)
     with notice of the pretrial conference and of their rights to attend and/or participate under the
     Crime Victims Rights Act, 18 USC § 3771.



     Dated: July 12, 2021
            New York, NY




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                                                                           RICHARD M. BERMAN
                                                                                 U.S.D.J.
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